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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     UNITED STATES OF AMERICA,                          Case No. 23-cr-00269-JSW-3
                                                        Plaintiff,
                                   8
                                                                                            ORDER RE: MOTION FOR THE
                                                 v.                                         ISSUANCE OF SUBPOENA FOR
                                   9
                                                                                            RECORDS; VACATING HEARING
                                  10     DEVON CHRISTOPHER WENGER,                          AND SETTING SCHEDULE
                                                        Defendant.                          Re: Dkt. No. 459
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Northern District of California
 United States District Court




                                  13          Defendant Devon Wenger has filed a noticed motion for the issuance of a subpoena for

                                  14   records pursuant to Federal Rule of Criminal Procedure 17 and Federal Rule of Civil Procedure

                                  15   45(b). Defendant noticed the motion for May 30, 2025, a date on which the Court is unavailable

                                  16   and which does not comply with the time requirements of Criminal Local Rule 47-2. See Crim.

                                  17   L.R. 47-2(a) (requiring service of noticed motions “not less than 14 days” before the hearing on

                                  18   the motion). Additionally, the Court hears criminal motions on Tuesdays at 1:00 p.m., unless the

                                  19   parties request and the Court approves a specially set hearing. Accordingly, the Court VACATES

                                  20   the hearing set for May 30, 2025, to be reset if necessary after briefing is complete.

                                  21          The Court further rules as follows:

                                  22          The Government shall file a response to the motion, if any, by May 27, 2025.

                                  23          Defendant shall file a reply, if any, by June 3, 2025.

                                  24          The proposed subpoena requests records relating to Dajon Smith, an alleged victim in this

                                  25   case. Pursuant to Federal Rule of Criminal Procedure 17(c)(3), “a subpoena requiring the

                                  26   production of personal or confidential information about a victim may be served on a third party

                                  27   only by court order. Before entering the order and unless there are exceptional circumstances, the

                                  28   court must require giving notice to the victim so that the victim can move to quash or modify the
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                                   1   subpoena or otherwise object.” The parties shall indicate in their briefs whether they believe this

                                   2   rule is applicable to the proposed subpoena and, if yes, suggest a timeline for notice.

                                   3          IT IS SO ORDERED.

                                   4   Dated: May 20, 2025

                                   5                                                    ______________________________________
                                                                                        JEFFREY S. WHITE
                                   6                                                    United States District Judge
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Northern District of California
 United States District Court




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